                      Case 8-20-08044-ast     Doc 16       Filed 12/11/20   Entered 12/11/20 14:27:17




                                        Jeffrey P. Nolan             December 11, 2020             jnolan@pszjlaw.com




L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E
                                        The Honorable Alan S. Trust
N E W Y O R K, N Y                      United States Bankruptcy Court
                                        Eastern District of New York
10100 SANTA MONICA BLVD.
13th FLOOR                              Alfonse M. D’Amato Federal Courthouse
LOS ANGELES                             290 Federal Plaza
CALIFORNIA 90067
                                        Central Islip, New York 11722
TELEPHONE:      310/277 6910

FACSIMILE:   310/201 0760                           Re:    In re: Orion HealthCorp, Inc., et al.
                                                           Howard M. Ehrenberg v.
                                                           American Express Travel Related Services
                                                           Company, Inc., Adv. Proc. No. 20-08044-AST

                                        Dear Judge Trust:

                                               We are counsel for Howard M. Ehrenberg in his capacity as
                                        Liquidating Trustee of Orion Healthcorp, Inc., et al. (the “Liquidating
                                        Trustee”) in the above referenced adversary proceeding.
SAN FRANCISCO
150 CALIFORNIA STREET
15th FLOOR
                                               The Court has rescheduled the Pretrial Conference from
SAN FRANCISCO                           February 9, 2021 at 2:00 p.m. Eastern Standard Time to March 16,
CALIFORNIA 94111-4500                   2021 at 10:00 a.m. Eastern Standard Time before the Honorable
TELEPHONE: 415/263 7000                 Alan S. Trust, United States Bankruptcy Judge, Courtroom 960 of the
FACSIMILE: 415/263 7010                 United States Bankruptcy Court for the Eastern District of New York,
                                        290 Federal Plaza, Central Islip, NY 11722.
DELAWARE
919 NORTH MARKET STREET
                                               The Liquidating Trustee will cause this letter to be served on
17th FLOOR
P.O. BOX 8705
                                        the Office of the United States Trustee and all other parties entitled to
WILMINGTON                              receive notice.
DELAWARE 19899-8705

TELEPHONE: 302/652 4100
                                                                         Very truly yours,
FACSIMILE: 302/652 4400

                                                                         /s/ Jeffrey P. Nolan
NEW YORK
                                                                         Jeffrey P. Nolan
780 THIRD AVENUE
36th FLOOR
NEW YORK
                                        JPN:lsc
NEW YORK 10017-2024

TELEPHONE: 212/561 7700
                                        cc: Darryl S. Laddin (via electronic mail)
FACSIMILE: 212/561 7777                     (Counsel for Defendant, American Express Travel
                                            Related Services Company, Inc.)
                 jl

                                        DOCS_LA:334108.2 65004/003
